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                                UNITED STATES DISTRICT
                               COURT FOR THE DISTRICT OF
                                      COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
        v.                                       :        Criminal No. 23-CR-4 (APM)
                                                 :
ISAIAH FARNSWORTH,                               :
                                                 :
                        Defendant.               :

                       MOTION TO ALLOW MR. FARNSWORTH TO
                       TRAVEL TO HIS COURT DATE ON MAY 4, 2023

       The defendant, by and through counsel, moves this Honorable Court to enter an order permitting

him to travel to his rearraignment date on May 4, 2023.

       As the Court knows, Mr. Farnsworth is on pretrial release and subject to the condition of home

confinement. The Probation Office in Chattanooga has advised that they need a Court Order permitting

them to give approval to Mr. Farnsworth to travel overnight. In this instance, Mr. Farnsworth has found

a flight that he can afford that originates in Atlanta, Georgia early in the morning on May 4, 2023. The

return flight arrives in Atlanta, Georgia at nearly midnight on May 4, 2023. Accordingly, Mr.

Farnsworth needs a Court Order permitting him to travel away from home on the nights of May 3, 2023

and May 4, 2023. He will return home during morning hours of May 5, 2023.



                                                Respectfully submitted,

                                                FEDERAL DEFENDER SERVICES
                                                OF EASTERN TENNESSEE, INC.

                                                By: /s/ Myrlene R. Marsa
                                                       Myrlene R. Marsa
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